     Case: 1:23-cv-13823 Document #: 11 Filed: 11/17/23 Page 1 of 1 PageID #:276

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Tricia Janetzke
                                   Plaintiff,
v.                                                      Case No.: 1:23−cv−13823
                                                        Honorable Manish S. Shah
Opichi Funds LLC, et al.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, November 17, 2023:


       MINUTE entry before the Honorable Manish S. Shah: Pursuant to the notice of
voluntary dismissal [10], this case is dismissed without prejudice. Civil case terminated.
Notices mailed. (psm, )




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